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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                              No. CR 10-1656 JB

NIDIA LIZZETT BATISTA-MARQUEZ,
aka Lizzett Pena,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Sentencing Memorandum. filed

January 12, 2011 (Doc. 65). The Court held a sentencing hearing on January 13, 2011. The primary

issue is whether the Court should sentence Defendant Nidia Lizzett Batista-Marquez to a time-

served sentence. At the sentencing hearing, Batista-Marquez stated that she would like to amend

her request for a sentence of unsupervised probation in her Sentencing Memorandum. Batista-

Marquez stated that, after reflection, research, and conversations with the United States Probation

Office (“USPO”), the remedy that she asked the Court to impose -- a period of one year

unsupervised probation -- could not be legally applied in this particular case, because she is in the

country illegally. She stated that it was her understanding that a more appropriate sentence in this

case would be a sentence of time-served with an unsupervised period of supervised release. The

Court has carefully considered the Presentence Investigation Report and the oral arguments made

at the sentencing hearing, and, for the reasons stated on the record, and for further reasons consistent

with those already stated, the Court grants Batista-Marquez’ request for a time-served sentence.

       IT IS ORDERED that Defendant Nidia Lizzett Batista-Marquez’ request at the sentencing
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hearing for a time-served sentence is granted. The Court will sentence Batista-Marquez to a

sentence of 219 days in the custody of the Bureau of Prisons, or time served, whichever is less.




                                                            _______________________________
                                                            UNITED STATES DISTRICT JUDGE


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